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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                             FT. WORTH DIVISION


EUGENIO VARGAS                       §
Plaintiff/Counter-Defendant,         §
                                     §
                                     §
                                     §
                                     §
                                     §       Case No. 4:22-CV00430
                                     §
V.                                   §
                                     §
ASSOCIATION OF PROFESSIONAL §
FLIGHT     ATTENDANTS,         JULIE §
HEDRICK AND ERIK HARRIS              §
Defendants/Counter-Plaintiffs.       §
                                     §
                                     §

   COUNTER-DEFENDANT EUGENIO VARGAS’S ANSWER TO COUNTER-
               PLAINTIFF’S COUNTER-COMPLAINT

      NOW COMES, Plaintiff/Counter-Defendant, Eugenio Vargas, (hereinafter

“Plaintiff”)) in the above-entitled and numbered cause, hereby appears and files in

this Original Answer, and shows the Court:



    1. With regard to the allegations in Paragraph 1, Plaintiff admits that the

        jurisdiction is proper.

    2. With regard to the allegations in Paragraph 2, Plaintiff Admits these

        allegations.

    3. With regard to the allegations in Paragraph 3, Plaintiff Admit these

        allegations.



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   4. With regard to the allegations in Paragraph 4, Plaintiff neither admits nor

      deny these allegations as they are not an allegation of fact or law.

   5. With regard to the allegations in Paragraph 5, Plaintiff admits only that

      the APFA Constitution and APFA Policy Manual exist, Plaintiff

      specifically denies all statements of facts and presumptions of law

      contained herein.

   6. With regard to the allegations in Paragraph 6, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   7. With regard to the allegations in Paragraph 7, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   8. With regard to the allegations in Paragraph 8, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   9. With regard to the allegations in Paragraph 9, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   10. With regard to the allegations in Paragraph 10, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   11. With regard to the allegations in Paragraph 11, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   12. With regard to the allegations in Paragraph 12, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   13. With regard to the allegations in Paragraph 13, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.



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   14. With regard to the allegations in Paragraph 14, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   15. With regard to the allegations in Paragrap15, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   16. With regard to the allegations in Paragraph 16, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   17. With regard to the allegations in Paragraph 17, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   18. With regard to the allegations in Paragraph 18, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   19. With regard to the allegations in Paragraph 19, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   20. With regard to the allegations in Paragraph 20, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   21. With regard to the allegations in Paragraph 21, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   22. With regard to the allegations in Paragraph 22, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   23. With regard to the allegations in Paragraph 23, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   24. With regard to the allegations in Paragraph 24, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.



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   25. With regard to the allegations in Paragraph 25, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   26. With regard to the allegations in Paragraph 26, Plaintiff specifically denies

      these allegations as untrue and leaves Defendant to their proof.

   27. With regard to the allegations in Paragraph 27, Plaintiff admits only that the

      arbitrator issued a decision on February 18, 2022. That decision speaks for

      itself as to the content and decisions contained therein.

   28. With regard to the allegations in Paragraph 28, Plaintiff admits only that the

      arbitrator issued a supplemental decision, and leaves that document to speak

      for itself.

   29. With regard to the allegations in Paragraph 29, plaintiff admits only that the

      arbitrator issued a decision and will allow the decision to speak for itself

      rather than interpret or address the appropriateness of this decision at this

      time.

   30. With regard to the allegations in Paragraph 30, plaintiff admits only that the

      arbitrator issued a decision and will allow the decision to speak for itself

      rather than interpret or address the appropriateness of this decision at this

      time.

   31. With regard to the allegations in Paragraph 31, plaintiff admits only that the

      arbitrator issued a decision.

   32. With regard to the allegations in Paragraph 32, plaintiff denies this

      allegation.



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     33. With regard to the allegations in Paragraph 38, plaintiff denies this

        allegation and leaves the defendant to their proof.

     34. With regard to the allegations in Paragraph 34, plaintiff denies this

        allegation.

     35. With regard to the allegations in Paragraph 38, plaintiff denies this

        allegation and leaves the defendant to their proof.

     36. With regard to the allegations in Paragraph 36, plaintiff denies this

        allegation and leaves the defendant to their proof.

     37. With regard to the allegations in Paragraph 38, plaintiff denies this

        allegation and leaves the defendant to their proof.

     38. With regard to the allegations in Paragraph 38, plaintiff denies this

        allegation and leaves the defendant to their proof.


     Wherefore, Plaintiff pray that this counterclaim be dismissed, and that this

honorable court deny such relief that has been requested and enter an order of

dismissal in favor of the Plaintiff.


                      AFFIRMATIVE AND OTHER DEFENSES


   Plaintiff asserts the following affirmative defenses and other defenses which,

separately or in combination, would bar Defendant’s right to recover, in whole or

in part, the damages alleged in Defendant’s Counter-claims pursuant to Federal

Rule of Civil Procedure 8(c):




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  1. Defendant failed to state a claim against Plaintiff on which relief could be

     granted.

  2. Defendant’s claims are barred in whole or in part by payment, offset, and/or

     credit.

  3. Defendant’s claims are barred by the statute of limitations.

  4. Additionally and/or in the alternative, and without waiving the foregoing

     and/or admitting any liability, Plaintiff asserts the affirmative defense of

     accord and satisfaction.

  5. Additionally and/or in the alternative, and without waiving the foregoing

     and/or admitting any liability, Defendants’ assert the affirmative defense of

     fraud.

  6. Additionally, and/or in the alternative, and without waiving the foregoing

     and/or admitting any liability, Defendant’s recovery should be denied

     because Defendant does not have standing to bring this action.

  7. Additionally, and/or in the alternative, and without waiving the foregoing,

     if Defendant suffered damages, which Plaintiff denies, it has failed to

     mitigate said damages.

  8. Plaintiff asserts the affirmative defense of estoppel.

  9. Plaintiff asserts the affirmative defense of laches.

  10. Additionally, and/or in the alternative, and without waiving the foregoing,

     Defendant’s claims are barred, in whole or in part by the doctrine of unclean

     hands.



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  11. Plaintiff hereby gives notice that Plaintiff intends to rely upon such other

     defenses, denials, or cross and/or counter actions as may become available

     or known through discovery, investigation or otherwise, and hereby reserves

     the right to amend Plaintiff Answer to assert such matters.

                           CONCLUSION AND PRAYER


               WHEREFORE, PREMISES CONSIDERED, Plaintiff

hereby prays as follows:

     1.           For judgment of the Court that Plaintiff take nothing by these

                  counter-claims, and that Plaintiff recover all costs of court;

     2.           That Plaintiff recover a judgment against Defendant, for court

                  costs and all attorney’s fees incurred in this counter-claim, and

                  reasonable attorney’s fees in the event of an appeal to the Texas

                  Court of Appeals and reasonable attorney’s fees in the event of an

                  Appeal to the Texas Supreme Court; and

     3.            Such other and further relief, at law or in equity, to which

                  Plaintiff may be justly entitled to receive.




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                                      Respectfully submitted,
                                      K.D. PHILLIPS LAW FIRM, PLLC


                                      By: /s/ Kerri Phillips
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                                           ATTORNEYS FOR
                                           PLAINTIFF/COUNTER-DEFENDANT




                          CERTIFICATE OF SERVICE

      I certify that on July 1, 2022, a true and correct copy of the foregoing
instrument was served upon Counter Plaintiffs attorney via e-filing manager and via
email to Bill Osborne, Sandford Dennison, and Margot Nikitas.


                                         /S/ Kerri Phillips
                                      Kerri Phillips




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